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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA

   IN RE: ZANTAC (RANITIDINE)                                    MDL NO. 2924
   PRODUCTS LIABILITY                                             20-MD-2924
   LITIGATION
                                                JUDGE ROBIN L. ROSENBERG
                                      MAGISTRATE JUDGE BRUCE E. REINHART

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   THIS DOCUMENT RELATES TO:

         21-cv-20886-RLR
         21-cv-80415-RLR
         21-cv-80417-RLR
         21-cv-80418-RLR
         21-cv-80419-RLR
         21-cv-80420-RLR
         21-cv-80422-RLR
         21-cv-80423-RLR
         21-cv-80425-RLR
         21-cv-80426-RLR
         21-cv-80432-RLR
         21-cv-80435-RLR
         21-cv-80441-RLR
         21-cv-80443-RLR
         21-cv-80445-RLR
         21-cv-80446-RLR
         21-cv-80447-RLR
         21-cv-80448-RLR
         21-cv-80449-RLR
         21-cv-80450-RLR
         21-cv-80460-RLR
         21-cv-80462-RLR
         21-cv-80463-RLR
         21-cv-80464-RLR
         21-cv-80465-RLR
         21-cv-80468-RLR
         21-cv-80470-RLR
         21-cv-80471-RLR
         21-cv-80474-RLR
         21-cv-80475-RLR
         21-cv-80477-RLR
         21-cv-80478-RLR
         21-cv-80479-RLR
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          21-cv-80482-RLR
          21-cv-80484-RLR
          21-cv-80486-RLR
          21-cv-80488-RLR
          21-cv-80491-RLR
          21-cv-80493-RLR
          21-cv-80495-RLR
          21-cv-80498-RLR
          21-cv-80499-RLR
          21-cv-80501-RLR
          21-cv-80502-RLR
          21-cv-80503-RLR
          21-cv-80504-RLR
          21-cv-80505-RLR
          21-cv-80507-RLR
          21-cv-80508-RLR
          21-cv-80509-RLR
          21-cv-80510-RLR

           ORDER OF CONSOLIDATION AND ADMINISTRATIVE CLOSE-OUT

          THIS CAUSE is before the Court sua sponte. The above-styled cases are consolidated

   in MDL proceeding 20-MD-2924 for all pretrial purposes, and the parties are directed to submit

   all filings in the MDL action. It light of the consolidation of all cases in the MDL action, it is

   ORDERED AND ADJUDGED that the Clerk of the Court shall mark the following cases as

   CLOSED for administrative purposes only:

          21-cv-20886-RLR
          21-cv-80415-RLR
          21-cv-80417-RLR
          21-cv-80418-RLR
          21-cv-80419-RLR
          21-cv-80420-RLR
          21-cv-80422-RLR
          21-cv-80423-RLR
          21-cv-80425-RLR
          21-cv-80426-RLR
          21-cv-80432-RLR
          21-cv-80435-RLR
          21-cv-80441-RLR

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           21-cv-80443-RLR
           21-cv-80445-RLR
           21-cv-80446-RLR
           21-cv-80447-RLR
           21-cv-80448-RLR
           21-cv-80449-RLR
           21-cv-80450-RLR
           21-cv-80460-RLR
           21-cv-80462-RLR
           21-cv-80463-RLR
           21-cv-80464-RLR
           21-cv-80465-RLR
           21-cv-80468-RLR
           21-cv-80470-RLR
           21-cv-80471-RLR
           21-cv-80474-RLR
           21-cv-80475-RLR
           21-cv-80477-RLR
           21-cv-80478-RLR
           21-cv-80479-RLR
           21-cv-80482-RLR
           21-cv-80484-RLR
           21-cv-80486-RLR
           21-cv-80488-RLR
           21-cv-80491-RLR
           21-cv-80493-RLR
           21-cv-80495-RLR
           21-cv-80498-RLR
           21-cv-80499-RLR
           21-cv-80501-RLR
           21-cv-80502-RLR
           21-cv-80503-RLR
           21-cv-80504-RLR
           21-cv-80505-RLR
           21-cv-80507-RLR
           21-cv-80508-RLR
           21-cv-80509-RLR
           21-cv-80510-RLR

   All pending motions are the above-listed cases are hereby DENIED WITHOUT PREJUDICE1

   for the movant to comply with the procedures outlined in Pretrial Order # 24, paragraph 10.

   1
     In the event the date of filing of any motion denied without prejudice is material, the Court will deem the date of
   filing for any renewed motion to be the date of filing for the original motion.
                                                            3
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          DONE and ORDERED in Chambers at West Palm Beach, Florida, this 9th day of

   March, 2021.



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                                               ROBIN L. ROSENBERG
   Copies furnished to Counsel of Record       UNITED STATES DISTRICT JUDGE




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